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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION


    THERESA JOHNSON,

                       Plaintiff,

    v.                                               Case No: 5:23-cv-403-GAP-PRL

    WHALECO, INC.,

                       Defendant




                                          ORDER
          This cause came before the Court for consideration without oral argument on

    Defendant’s motion to compel arbitration and dismiss the action (Doc. 20). The

    Court has also considered Plaintiff’s response in opposition (Doc. 21).

          I.    Background

          On June 27, 2023, Plaintiff Theresa Johnson (“Plaintiff”) filed a class action

    complaint, individually and on behalf of others similarly situated, against

    Defendant Whaleco, Inc. d/b/a TEMU (“Defendant”), an online marketplace for

    consumer goods, alleging violations of the Telephone Consumer Protection Act

    (“TCPA”). Doc. 1; see 47 U.S.C. §§ 227, et seq. The TCPA requires telemarketing

    companies to maintain do-not-call lists and train their employees to effectively

    manage and honor those lists. See 47 C.F.R. § 64.1200(d). Plaintiff alleges that she



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    and others requested to be added to Defendant’s do-not-call list but that those

    requests were not honored. Doc. 1, ¶¶ 40-41. She complains that she has suffered

    invasion of privacy and harassment because of Defendant’s actions and seeks

    injunctive relief and statutory damages. Id., ¶5, 12.

          Plaintiff registered to use Defendant’s online marketplace on November 10,

    2022. Doc. 20 at 81. To register for an account, she was required to enter an email

    address or phone number, and then click a large, brightly colored “Continue”

    button. See id. at 4-6. At the bottom of the webpage, beneath four other buttons, lies

    a statement in light grey font that reads: “By continuing, you agree to our Terms of

    Use and Privacy & Cookie Policy.” Id. at 5 (emphasis original). Defendant’s form

    is depicted here:




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    Doc. 20 at 21. Plaintiff maintains that these terms were not conspicuously disclosed

    to her when she registered to use Defendant’s website with this form. Doc. 21 at 1.

          On August 21, 2023, Defendant moved to dismiss the case and compel

    arbitration pursuant to its online terms (the “Agreement”), which include a

    mandatory arbitration provision. Doc. 20 at 1-3. Defendant argues that its terms and

    conditions were conspicuously located on its website and, therefore, the valid

    arbitration clause is binding and the Court must compel Plaintiff to arbitration. Id.

    at 2. Plaintiff argues that Defendant has not demonstrated the existence of an

    enforceable arbitration agreement and asks the Court to deny the motion. Doc. 21

    at 12. The matter is now ripe for review.

          II.    Legal Standard

          In the Middle District of Florida, “[m]otions to compel are treated generally

    as motions to dismiss for lack of subject matter jurisdiction pursuant to Federal Rule

    of Civil Procedure 12(b)(1).” Owings v. T-Mobile USA, Inc., 978 F.Supp.2d 1215, 1222

    (M.D. Fla. Aug. 15, 2013). Though motions to dismiss under Rule 12(b)(1) can be

    facial or factual, courts have held that “a motion seeking to compel arbitration [is a]

    factual attack” because it asserts that a provision of an extrinsic document deprives

    the court of jurisdiction. Bell v. Atlantic Trucking Co., Inc., No. 3:09-cv-406-J-32MCR,

    2009 WL 4730564, *3 (M.D. Fla. Dec. 7, 2009). “Factual attacks…challenge the

    existence of subject matter jurisdiction in fact, irrespective of the pleadings, and


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    matters outside the pleadings, such as testimony and affidavits, are considered.”

    Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th Cir. 1990) (internal quotation marks

    omitted). “A district court evaluating a factual attack on subject matter jurisdiction

    may proceed as it never could at summary judgment and is free to weigh the

    evidence and satisfy itself as to the existence of its power to hear the case.” Hakki v.

    Secretary, Dep’t of Veterans Affs., 7 F.4th 1012, 1023 (11th Cir. 2021) (internal

    quotations and citations omitted). “In short, no presumptive truthfulness attaches

    to plaintiff’s allegations, and the existence of disputed material facts will not

    preclude the trial court from evaluating for itself the merits of jurisdictional claims.”

    Lawrence, 919 F.2d at 1529.

          III.   Analysis

          Under the Federal Arbitration Act (“FAA”), arbitration agreements are

    “valid, irrevocable, and enforceable, save upon such grounds as exist at law or in

    equity for the revocation of any contract.” 9 U.S.C. § 2. The FAA “creates a

    presumption of arbitrability such that any doubts concerning the scope of arbitrable

    issues should be resolved in favor of arbitration.” Bazemore v. Jefferson Capital Sys.,

    LLC, 827 F.3d 1325, 1329 (11th Cir. 2016) (internal quotation marks omitted).

    However, the presumption of arbitrability “does not apply to disputes concerning

    whether an agreement to arbitrate has been made.” Id. “The threshold question of

    whether an arbitration agreement exists is a matter of contract” governed by state


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    law. Id. at 1329-30 (quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 943

    (1995)). 1

           The parties here agree that whether the Agreement is binding is a question of

    Florida law. 2 See, e.g., Doc. 20 at 7, Doc. 21 at 3. Both parties further agree that

    Florida courts have recognized two principal types of internet contracts:

    “clickwrap” agreements and “browsewrap” agreements. See Doc. 20 at 7, Doc. 21 at

    3. The court in Bell v. Royal Seas Cruises, Inc., described these types of agreements

    succinctly:

           “A ‘clickwrap’ agreement occurs when a website directs a
           purchaser to the terms and conditions of the sale and requires the
           purchaser to click a box to acknowledge that they have read those
           terms and conditions.” Id. (quoting Vitacost,[ 3] 210 So. 3d at 762). “A
           ‘browsewrap’ agreement occurs when a website merely provides a
           link to the terms and conditions and does not require the purchaser
           to click an acknowledgement during the checkout process. The
           purchaser can complete the transaction without visiting the page
           containing the terms and conditions.” Id. (quoting Vitacost, 210 So.
           3d at 762). Courts generally enforce clickwrap agreements. Vitacost,


           1  Federal district courts analyze three elements in ruling on motions to compel arbitration
    in Florida: “(1) whether a valid written agreement to arbitrate exists; (2) whether an arbitrable
    issue exists; and (3) whether the right to arbitration was waived.” Seifert v. U.S. Home Corp., 750
    So.2d 633, 636 (Fla. 1999). Plaintiff does not dispute the second and third elements of this
    analysis. See Doc. 21.
           2  The Court recognizes that Section 19.4 of the Agreement designates that any disputes
    arising under the contract will be governed by New York law. Doc. 20 at 62. However, that
    provision is inapplicable unless and until the Court determines that “the parties actually entered
    into that agreement in the first place.” Bell v. Royal Seas Cruises, Inc., No. 19-CV-60752-
    RUIZ/STRAUSS, 2020 WL 5742189, n. 1 (S.D. Fla. May 13, 2020); see also Bazemore, 827 F. 3d at
    1329-30.
           3   See Vitacost.com, Inc. v. McCants, 210 So.3d 761, 762 (Fla. 4th DCA 2017).


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          210 So. 3d at 762. Browsewrap agreements, however, “have only
          been enforced when the purchaser has actual knowledge of the
          terms and conditions, or when the hyperlink to the terms and
          conditions is conspicuous enough to put a reasonably prudent
          person on inquiry notice.” MetroPCS, 273 So. 3d at 1028 (quoting
          Vitacost, 210 So. 3d at 762).

    No. 19-CV-60752-RUIZ/STRAUSS, 2020 WL 5742189, *5 (S.D. Fla. May 13, 2020).

    Defendant, however, urges the Court to recognize a third hybrid category of “sign-

    up wrap” agreements, pointing to a purported “body of law in Federal Florida

    cases.” Doc. 20 at 8. But, despite Defendant’s mischaracterization, these

    distinguishable cases were resolved under Florida’s existing clickwrap and

    browsewrap standards.

          In Bell v. Royal Seas, the court held that the agreement was close enough to a

    clickwrap agreement under Florida law to put the plaintiff on notice. 2020 WL

    5742189 at *6. Moreover, the hyperlink to the terms and conditions there was located

    directly above the “CONTINUE” button and, distinctively, included text explicitly

    stating that those terms contained a mandatory arbitration provision. Id. at *1. The

    website at issue in Valiente v. StockX, Inc. likewise bears little resemblance to

    Defendant’s. 645 F.Supp.3d 1331, 1338 (S.D. Fla. Dec. 9, 2022). There, a user was

    required to affirmatively check a box—located directly below the registration box—

    acknowledging that they agreed to the terms and conditions. Id. Most importantly,

    in both of these cases, the district courts found that the registrations constituted



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    clickwrap agreements, not some form of hybrid agreement. Id.; see also Royal Seas,

    2020 WL 5742189 at *6 (“But in light of the analysis in MetroPCS, under Florida law,

    the design here is close enough to the clickwrap end of the spectrum to provide the

    requisite inquiry notice.”). 4

           Florida courts have held that browsewrap agreements encompass those

    where “[t]he purchaser can complete the transaction without visiting the page

    containing the terms and conditions.” MetroPCS Comms., Inc. v. Porter, 273 So. 3d

    1025, 1028 (Fla. 3d DCA 2018). Defendant’s website allowed Plaintiff to do just that:

    complete her registration without visiting the terms and conditions. See Doc. 20 at

    4-6. Therefore, Defendant’s registration site contained a browsewrap agreement

    which can only be enforced if Plaintiff had actual knowledge of the terms or if the

    hyperlink was sufficiently conspicuous. See Royal Seas, 2020 WL 5742189 at *5.

           Defendant alleges, without support, that Plaintiff “saw the statement.” 5 Doc.

    20 at 2. However, where “there is no evidence that the website user had actual



           4  Defendant’s citations to non-Florida district court cases are likewise inapposite. Doc. 20
    at 8, 10-12. For instance, Guadagno v. E*Trade Bank involved an online application which
    “provid[ed] a highlighted, bullet-pointed, underlined link to the Agreement,” and, to proceed,
    required applicants to check a box acknowledging they had reviewed such. 592 F.Supp.2d 1263,
    1267 (C.D. Cal. Dec. 29, 2008). Route App, Inc. v. Heuberger is also distinguishable. No. 2:22-CV-
    291-TS-JCB, 2022 WL 2316377 *3-*4 (D. Utah Jun. 28, 2022). There the text linking to the terms was
    “underlined in blue font” and it was located above the Continue button. Id. The cases from New
    York also involved readily distinguishable website designs. See Berkson v. Gogo, LLC, 97
    F.Supp.3d 359, 399-400 (E.D. N.Y. Apr. 9, 2015); Fteja v. Facebook, Inc., 841 F.Supp.2d 829, 835 (S.D.
    N.Y. Jan. 24, 2012).
           5   The Court finds it noteworthy that Defendant chose to highlight the entirety of the

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    knowledge of the agreement, the validity of the browsewrap agreement turns on

    whether the website puts a reasonably prudent user on inquiry notice of the terms

    of the contract.” Nguyen v. Barnes & Noble, Inc., 763 F.3d 1171, 1177 (9th Cir. 2014);

    see also MetroPCS, 273 So.3d at 1029. Because Defendant has produced no evidence

    that Plaintiff had actual knowledge of the terms, the Court turns to the reasonably

    prudent user analysis. 6 See MetroPCS, 273 So.3d at 1029 (quoting Vitacost.com, Inc.

    v. McCants, 210 So.3d 761, 762 (Fla. 4th DCA 2017)).

           Defendant’s website design fails this analysis because “the hyperlink to the

    Terms is not prominent or particularly remarkable at the bottom of the page[] where

    it is featured.” Fridman v. 1-800 Contacts, Inc., 554 F.Supp.3d 1252, 1263-65 (S.D. Fla.

    Aug. 13, 2021). Most damning to Defendant’s attempt to enforce the Agreement is

    its use of a very light grey font against a white background, devoid of underlined

    text or any conspicuous visual cues. 7 Doc. 20 at 21; see also Report &

    Recommendation, Goldstein v. Fandango Media, LLC, No. 9:21-cv-80466-RAR, 2021




    relevant statement with bold text in its motion to dismiss, but not on its website. See Doc 20 at 2,
    21.
           6 See Royal Seas, 2020 WL 5742189 at *8 (“The party seeking enforcement of an agreement
    has the burden of establishing that an enforceable agreement exists.”) (quoting CEFCO v. Odom,
    278 So. 3d 347, 352 (Fla. 1st DCA 2019)).
           7  The Court recognizes that the words “Terms of Use” and “Privacy & Cookie Policy” are
    in bold font. See Doc. 20 at 21. However, because the font color is itself such a light grey, even in
    bold font the words still appear significantly lighter than the conspicuous black and colorful text
    used elsewhere on the webpage and do not attract attention. See id.


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    WL 6617447, *3 (S.D. Fla. Jul. 27, 2021) (Reinhart, Mag. J.) (“[T]he comparatively

    miniscule size of the typeface used to notify the purchaser that [s]he is agreeing to

    certain [t]erms…and its light grey color render it practically unreadable.”). This

    camouflaged font contradicts Defendant’s assertion that its registration page

    displays a “conspicuous hyperlink to [it]s Terms of Use.” Doc. 20 at 2. And

    crucially—it evinces an intent to conceal those hyperlinks from conspicuous view,

    which militates strongly against finding the existence of an agreement to arbitrate.

    See Volt Info. Sciences, Inc. v. Board of Trs. Of Leland Stanford Junior Univ., 489 U.S. 468,

    479 (1989) (“Arbitration under the [FAA] is a matter of consent, not coercion…”).

           The inconspicuous nature of the hyperlinks is further compounded by its

    poor placement on the website. See Temple v. Best Rate Holdings, LLC, 360 F.Supp.3d

    1289, 1304 (M.D. Fla. Dec. 27, 2018) (acknowledging the distinction between placing

    terms and conditions above versus below the action button on a webpage). “It is not

    reasonable to expect a user to continue reading below the highly conspicuous

    purchase button.” Goldstein, 2021 WL 6617447 at *3; see also Vitacost.com, Inc., 210

    So.3d at 765 (“Uniformly, courts have declined to enforce “browsewrap”

    agreements when the hyperlink to the terms and conditions is buried at the bottom

    of the page, and the website never directs the user to review them.”). Here, the faint

    text linking to Defendant’s browsewrap agreement is located at the bottom of the

    webpage beneath four other buttons and far below the bright-orange “Continue”


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    button. See Doc. 20 at 21. This placement does not put a reasonably prudent user on

    inquiry notice. 8 See Nguyen, 763 F.3d at 1177.

           Moreover, in contrast to cases like Bell v. Royal Seas, the notice that does exist

    fails to put the user on notice of the mandatory arbitration provision. See id.; see also

    Goldstein, 2021 WL 6617447 at *4. “In Florida, to incorporate a collateral document

    into an agreement, the agreement must: (i) specifically provide that the collateral

    document is being incorporated; and (ii) sufficiently describe the collateral

    document being incorporated.” Vitacost.com, Inc., 210 So.3d at 764-65. Defendant’s

    notice here, tucked away at the bottom of the page in barely visible font, does not

    put users “on inquiry notice of the arbitration provision.” Id. at 766; see also, e.g.,

    Royal Seas, 2020 WL 5742189 at *7 (finding notice sufficient where the statement

    included explicit notice of mandatory arbitration). Therefore, Plaintiff was not put

    on notice to the Agreement with Defendant and cannot be compelled to arbitrate

    this dispute.




           8 The Court recognizes that the state circuit court in Fontanez v. Whaleco, Inc., 53-3032CA-
    00374, (Fla. Polk County Ct. 2023), reached a different conclusion. See Doc. 28-1. This Court
    respectfully disagrees with that court’s conclusions regarding the conspicuousness of the
    hyperlinks, as described above, and also with its shifting of the burden to prove actual
    knowledge of the agreement. See id. at 4-5; see also infra note 6. The Court likewise notes that
    Defendant’s other notice of supplemental authority, Schuster v. Uber Technologies, Inc., No. 8:18-
    CV-2389-T-35JSS, 2019 WL 2536780, *1 (M.D. Fla. Jun. 13, 2019), is inapposite. See Doc. 25. While
    sharing some similarities, in that case Uber’s hyperlinks to terms and conditions were in blue,
    underlined font, which materially distinguishes them from the instant facts. See Doc. 25 at 3.


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           IV.   Conclusion

           Accordingly, it is ORDERED that Defendant’s motion to compel arbitration

    is hereby DENIED.

           DONE and ORDERED in Orlando, Florida on October 13, 2023.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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